                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

  EQHEALTH ADVISE WELL, INC.                              CIVIL ACTION


  VERSUS                                                  NO: 21-1438

  HOMELAND INSURANCE CO. OF                               SECTION: "A" (4)
  NEW YORK


                           ORDER TRANSFERRING CASE

      Given that Defendant has not withdrawn the objection to venue in this district in

accordance with the Court’s directive in its Order and Reasons entered on January 11,

2022 (Rec. Doc. 24), for the reasons provided in that Order and Reasons,

      IT IS ORDERED that this Civil Action is TRANSFERRED to the Middle District of

Louisiana.

      January 24, 2022

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                                  JAY C. ZAINEY
                          UNITED STATES DISTRICT JUDGE
